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                   Exhibit D
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Matt McAvoy

                St.

Philadelphia, PA 19125



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Honorable Amy Berman Jackson

United States District Court

c/o Ann C. Flannery, Esq.

1835 Market Street, Suite 2900

Philadelphia, PA 19103

acf@annflannerylaw.com

October 29, 2021



Re: Sentencing of Andrew Wrigley

Crim. No. 21-42



Dear Judge Jackson:

I am writing this letter to support Andrew Wrigley during this difficult time. I have known Andrew very well for about six
years, and I feel that I can provide some useful information about his character. I met Andrew through the local
Philadelphia running community. We both were very involved with different running groups, one of them pairs running
guides with visually impaired runners and athletes. I am visually impaired, so Andrew and I began running together
regularly, since we had a similar pace and running distance. As we ran sometimes multiple times per week together, and
long training runs together, we became good friends, and I can say that training runs leading up to running a marathon
together definitely provide adequate time to get to know someone.

During the years that I have known Andrew, I have learned that he is a very intelligent, caring, generous, and empathetic
person, who has shown personal determination with his accomplishments in artwork and his personal business. I
literally trust Andrew with my life, as we have navigated traffic, other people in our path, and other obstacles during our
training runs together. From my own experience, I know that Andrew will always make sure the the disadvantaged
person is cared for and and he is considerate of everyone.

I hope this information is helpful, and his strong character and good intentions are taken into consideration as you make
your decision about his case.



Respectfully,

Matt McAvoy
